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15
                       THE UNITED STATES DISTRICT COURT
16
                       SOUTHERN DISTRICT OF CALIFORNIA
17

18
      WHITEWATER DRAW NATURAL,                 Case No. 3:16-cv-2583
19    RESOURCE CONSERVATION
20    DISTRICT et al,
                                               PLAINTIFFS’ MEMORANDUM OF
21
                         Plaintiffs,           POINTS AND AUTHORITIES IN
22                                             OPPOSITION TO DEFENDANTS’
                 v.                            MOTION TO STAY
23

24    JOHN F. KELLY, et al.,
25
                                               Date: July 3, 2017
                                               Time: 10:30 a.m.
26                                             Courtroom: 5B
                         Defendants.
27
                                               Hon. H. James Lorenz
28




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1     I.    Introduction
2
            This case concerns the longstanding failure of the Department of Homeland
3

4     Security (“DHS”) to comply with the National Environmental Policy Act
5
      (“NEPA”), 42 U.S.C. § 4331 et seq. and its implementing regulations relating to its
6

7
      actions concerning the entry and settlement of foreign nationals into the United

8     States. In the Complaint, Plaintiffs assert that the NEPA regulations that DHS
9
      promulgated pursuant to 42 U.S.C. § 4333 are unlawfully silent with respect to the
10

11    environmental impacts (most notably population growth) resulting from the mass
12
      entry and settlement of foreign nationals into the United States. Plaintiffs further
13

14
      assert that 33 specific DHS actions relating to the entry and settlement of foreign

15    nationals into the United States should have undergone NEPA analysis but did not.
16
      This failure, Plaintiffs believe, may have resulted from the underlying inadequacy
17

18    of the DHS NEPA regulations themselves.
19
            Defendants Department of Homeland Security (“DHS”) and Secretary of
20

21
      Homeland Security John Kelly appear to be seeking a stay of proceedings because

22    they have mistaken the nature of Plaintiffs’ NEPA challenge. If this case were a
23
      substantive challenge to the 33 major governmental actions Plaintiffs identified in
24

25    their Complaint, the Defendants’ argument for a stay would be much stronger. See
26
      Complaint ¶ 53. However, this case is not about whether past Administrations had
27

28
      power under the law to implement the substance of those actions. Instead, this case



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1     is about whether DHS’s NEPA regulations arbitrarily and capriciously fail to inject
2
      significant environmental considerations into DHS’s decision-making process, the
3

4     inclusion of which would have ensured that the agency “take actions that protect,
5
      restore, and enhance the environment.” 40 C.F.R. § 1500.1 (c). The Plaintiffs also
6

7
      challenge the failure of the Defendants to live up to their procedural obligations

8     under NEPA with respect to the specific actions at issue in this case. Indeed, these
9
      specific NEPA failures likely occurred as a result of Defendants’ ongoing failure
10

11    even to recognize that its major actions relating to the entry and settlement of large
12
      numbers of foreign nationals into the United States result in environmentally
13

14
      significant impacts.

15          Defendants seek a stay in order to “simplify” the “issues, proof, and
16
      questions of law at issue.” Federal Defendant’s Amended Memorandum In Support
17

18    of Motion to Stay (“Defendant’s Memo”) at 7. However, the core of Plaintiffs’
19
      complaint is already quite simple, even though the results of Defendants’ basic
20

21
      failure, which the complaint documents, are widespread. The complaint establishes

22    that the entry and settlement of large numbers of foreign nationals into the United
23
      States has significant, ongoing impacts on the human environment. The startling
24

25    truth is that the federal government has never conducted any public analysis of any
26
      environmental impacts resulting from the entry and settlement of foreign nationals,
27

28
      and did not do any such analysis prior to engaging in the specific actions



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1     documented by the Plaintiffs. NEPA prohibits such environmentally uninformed
2
      decision-making.
3

4     II.   Background
5
            The Plaintiffs in this case are individual environmentalists, environmental
6

7
      groups that object to endless population growth, southwest natural resource

8     conservation groups, and members of the southwest cattle-ranching community.
9
      Plaintiffs have brought this NEPA challenge because of DHS’ ongoing failure,
10

11    apparent in its own internal NEPA regulations, to recognize that DHS actions
12
      inducing mass immigration, legal and illegal, result in environmentally
13

14
      consequential impacts.

15          The core policy of NEPA, the “basic national charter for protection of the
16
      environment,” is that public officials are obliged to make decisions that are based
17

18    on an informed understanding of the likely environmental consequences flowing
19
      from their specific actions. 40 C.F.R. § 1500.1. NEPA aims to prevent public
20

21
      officials from carrying out policies which significantly affect the environment

22    without at least considering likely environmental effects. Yet DHS regularly
23
      authorizes and implements discretionary policies which lead to the entry and
24

25    settlement of foreign nationals with no analysis of likely environmental
26
      consequences.
27

28
            The reason this complete lack of analysis violates NEPA is because the mass



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1     entry and settlement of foreign nationals cannot reasonably be seen as an
2
      environmentally insignificant occurrence. Because DHS discretionary policy
3

4     choices result in the mass entry and settlement of foreign nationals into the United
5
      States, the U.S. population has grown and will continue to grow substantially.
6

7
      Induced population growth is deemed an environmentally significant impact under

8     NEPA, which expressly recognizes Congressional concern for “the profound
9
      influences of population growth” on the “natural environment.” 40 C.F.R. Section
10

11    1500.1(c). Policy choices and other actions have led and continue to lead to the
12
      mass illegal entry across the border and settlement of untold millions of people.
13

14
      This flow of people results in the degradation of the natural environment of the

15    borderlands as well and causes significant impacts.
16
            Plaintiffs filed their complaint on October 17, 2016. Defendants first asked
17

18    Plaintiffs for two extensions, on the basis that they did not have the capacity to
19
      respond during the time given. Plaintiffs took in good faith Defendants’ plea for
20

21
      more time, and consented to two separate extensions, expecting that Defendants

22    would use the initial four extra months to formulate their defense. When
23
      Defendants, who had not made any progress readily apparent to Plaintiffs in
24

25    formulating their answer or defense in the extended time given, asked for a third
26
      extension, Plaintiffs asked if Defendants wanted to pursue settlement negotiations.
27

28
      Defendants took up Plaintiff’s offer to engage in a settlement conference if Plaintiff



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1     would grant another months extension, until May 30, 2017, to file their answer.
2
      Plaintiffs agreed, and parties had a settlement conference on May 8, 2017. However,
3

4     Plaintiffs and Defendants were unable to find common ground during the settlement
5
      conference. On May 30, 2017, when Defendant’s Answer was due, Defendants
6

7
      requested a further delay.

8     III.   Argument
9
      A.     Standard for Granting a Stay
10

11           While any court’s discretion to stay its proceedings is inherent in its power
12
      to “control the disposition of the causes on its docket,” the “suppliant for a stay
13

14
      must make out a clear case of hardship or inequity in being required to go

15    forward.” Landis v. N. American Co., 299 U.S. 248, 254-255 (1936). The “burden
16
      is on the party seeking the stay to show there is pressing need for delay, and that
17

18    neither the other party nor the public will suffer harm from the entry of the order.”
19
      Ohio Envtl. Council v. United States Dist. Court, Southern Dist., 565 F. 2d 393,
20

21
      396 (6th Cir. 1977). The Defendants thus are the party that must make a showing

22    why these proceedings should not proceed even to the answer stage at this time.
23
      B.    Defendants have not demonstrated hardship or inequity in being
24
      required to go forward with the case until the final results of the policy review
25    are known because they have not shown their defense depends on the policy
      review.
26

27           Defendants state that two of the Executive Orders issued by the President of
28




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1     the United States on January 25, 2017, may “potentially” result in the withdrawal
2
      of a number of the actions named in the Plaintiff’s complaint. Defendants’ Memo
3

4     at 7. On this basis, Defendants contend that “defend[ing] numerous actions that
5
      may soon be amended, withdraw or superseded” is a hardship that must be
6

7
      avoided. Defendants’ Memo at 7.

8           However, Defendants have not explained why their defense would require
9
      defending the actions themselves. The substantive legality of these actions is not at
10

11    issue in this case. The NEPA process or lack thereof that DHS engaged in before
12
      adopting these actions is at issue. The “fundamental purpose of NEPA” is to ensure
13

14
      that “federal agencies take a hard look at the environmental consequences of their

15    actions, early enough that it can serve as an important contribution to the decision
16
      making process.” Sierra Club v. Bosworth, 510 F. 3d 1016, 1016 (9th Cir. 2007). If
17

18    Defendants believe the NEPA regulations that they have adopted (also under
19
      challenge in this case) comply with the law, they ought to be able to make this
20

21
      defense at any time. If they believe that NEPA is not applicable to immigration

22    actions in general, they must assert this defense regardless of what the results of
23
      the immigration policy review are.
24

25          Defendants state that compiling the administrative records for actions may
26
      be an unnecessary burden. Defendants’ Memo at 7. Such an analysis is not even
27

28
      necessary at the answer stage of the proceeding, which is where this case still is



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1     because of Defendants’ delays. However, if the administrative records of these
2
      actions include environmental analysis, compiling these records will be relevant to
3

4     Plaintiffs’ claims regardless of the results of the immigration review. Plaintiffs
5
      claim that the complete lack of environmental analysis by DHS of any of the
6

7
      environmental impacts relating to the entry and settlement of into the United States

8     is arbitrary and capricious. If DHS has been conducting non-public environmental
9
      analysis before engaging in immigration increasing actions, such analysis would be
10

11    relevant to Plaintiffs’ claims and Defendants’ defenses.
12
      C.   Defendants have not shown that staying this action would ensure
13    government resources are used most appropriately during the Executive
14
      Order Review period.

15          Defendants urge the Court to grant a stay so that they can devote their
16
      resources to “implementing Executive Orders without the competing priority of
17

18    preparing a defense to plaintiffs’ claims.” Defendants’ Memo at 7. But if
19
      Defendants believe that their work under this immigration policy review may touch
20

21
      upon issues in this case, they should be willing to consider the possibility that an

22    immigration policy review is a good time to consider whether they are doing the
23
      proper environmental analysis. Plaintiffs would agree to a delay if Defendants
24

25    were willing to review the relevant issues. But when Plaintiffs asked if this review
26
      would extent to considering the NEPA issues raised in this case, Defendants would
27

28
      only say they would comply with NEPA if “applicable.” See Exhibit A.



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1     At this juncture, it appears that Defendants consider that immigration related actions
2
      and policy decisions operate in an entirely separate sphere from the DHS NEPA
3

4     process. That is, Defendants appear to believe that NEPA is not “applicable” to
5
      immigration related actions. Plaintiffs do not agree and are prepared to prove that
6

7
      this mindset is arbitrary and capricious. But if Defendants hold to it, the issue of

8     whether their position is arbitrary and capricious is unaffected by uncertainty about
9
      whether past discretionary immigration policies will be dropped in the future. Such
10

11    uncertainty is inevitable. As Defendants themselves point out, agencies always may
12
      change their policies. Defendants’ Memo at 4.
13

14
      IV.   Conclusion

15          Defendants have failed to meet their burden of establishing that they would
16
      face hardship or inequity in being required to proceed with an answer to the case at
17

18    this time.
19
      Dated: June 16, 2017
20

21
                                             Respectfully submitted,

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